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IN THE UNITED STATES DlSTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
FT. MYERS DIVIS[ON

UNITED STATES OF AMERICA,
Case No.
Plaintiff,

V.

DOUGLAS WINLAND; SI'{ERRY JEAN
I-IETZ; LARRY HART, Lee County Tax
Collector; NEWLINE HOLDINGS, LLC;
DABTLCS, LLC; and the STATE OF
FLORIDA;

Defendants.

HVVVVVVVVVVVVV

 

COMPLAINT

Plaintiff, the United States of America, by and through undersigned counsel, complains
and alleges as follows:

l. The United States brings this civil action to reduce to judgment Douglas
Winland’s unpaid federal income tax liabilities for the tax years 1998 through 2006.
Additionally, the United States seeks to foreclose federal tax liens that encumber real property
held by the taxpayer’s nominee and.-“or transferee; sell the property free and clear of the liens and
claims of the parties to this action; and distribute the proceeds in conformity with the findings of
this Court.

AUTHORIZ.ATION

2. This action has been authorized by the Chief Counsel of the Intemal Revenue

Service, a delegate of the Secretary of the Treasury, and is brought at the direction of the

Attomey General of the United States in accordance with 26 U.S.C. §§ 7401 and 7403.

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JURISDICTION AND |VENUE

3. The Court has original jurisdiction over this action pursuant to 28 U.S.C. §§ 1340
(internal revenue laws) and 1345 (United States as plaintift), and 26 U.S.C. § 7402(a) (render
judgments).

4. Pursuant to 28 U.S.C. §§ 1391(b) and 1396, venue is proper in this Court because
the real property at issue is located in Cape Coral, Florida, Douglas Winland resided at this
property prior to his incarceration, and a substantial part of the events or omissions giving rise to
the United States’ claims occurred in this district.

SUBJECT PROPERTY

5. Thc United States seeks to foreclose federal tax liens attached to a single family

residence located at 3510 NW 47th Street, Cape Coral, Florida 33993.
PARTIES

6. Douglas Winland is currently serving a 20 year sentence with the Florida
Department of Corrections for attempted second degree murder. Pn`or to his incarceration,
Winland resided in Cape Coral, Florida in the Subject Property. He is named as a defendant in
this action because he has not paid his federal tax assessments, and as a result, federal tax liens
encumber the Subject Property.

7. Sherry Jean Hctz is Winland’s ex-girlfriend. She currently lives in, and holds title
to, the Subject Property. She is named as a defendant is this suit because she is the nominee
and/or fraudulent transferee of Winland, and pursuant to 26 U.S.C. § 7403(b) she may claim an

interest in the Subject Property.

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8. Larry Hart, the Lee County Tax Collector, is named as a defendant in this action
pursuant to 26 U.S.C. § 7403(b) because his office may claim an interest in the Subject Property
as the result of unpaid property taxes.

9. Newline Holdings, LLC is the certificate holder of the Subject Property’s
delinquent property tax for the 2015 tax year. lt is named as a defendant in this action pursuant to
26 U.S.C. § 7403(b) because it may claim an interest in the Subject Property based on the
certificate

10. DABTLCS, LLC is the certificate holder of the Subject Property’s delinquent
property tax for the 2014 tax year. It is named as a defendant in this action pursuant to 26 U.S.C.
§ 7403(b) because it may claim an interest in the Subject Property based on the certificate

ll. The State of Florida recorded a judgment against Winland in April 2012 relating
to his public defense attorney costs. lt is named as a defendant in this action pursuant to 26
U.S.C. § 7403(b) because it may claim an interest in the Subject Property based on that
judgment

COUNT I- REDUCE FEDERAL INCOME TAX LIABILITIES TO JUDGMENT

12. Thc United States incorporates by reference the allegations contained in
paragraphs l through ll as if fully and separately restated herein.

13. The Service examined Winland’s federal income tax returns for the tax years
1998 through 2005 and identified deficiencies in, and additions to, tax due for each year.
Winland did not pay the assessed liabilities in full.

14. For the 2006 tax year, Winland filed a return reporting income tax liabilities but

failed to pay the reported liabilities in fi.rll.

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15. On the dates and in the amounts set forth below, a delegate of the Secretary of the

Treasury assessed income taxes, plus penalties and interest, against Winland:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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1998 9/17/2007 $8,393 (by exam) s12,173.46 s3,246.73 uaw aling)
$2,121.60 {accuracy`,l
3/28/2011 $2,192.65 (failure to pay) __
1999 9/10/2007 $93,931 (by exam) 535,526.33 $23,722.80 care aling)
518,922.60 (accuracy)
3/28/2011 $23,066.12 (failure to pay)
2000 9/10/2007 388,415 (by exam) ; 362,133.02 `§22,209.03 hare ming)
l 317,683 (accuracy)
3/28/2011 $2],379.22 (failure to pay)
2001 9/10/2007 585,947 (by exam) $47,986.58 321,486.75 date aling)
$l7,189.40 (accuracy)
398/2911 Szlasé__-_ar_f_a:ipe101-311 -.
2002 9/10/2007 327,348 (by exam) 312,544.96 $6,322 hare aling) `
$5,908.20 (accuracy)
3/28/2011 $7,385.25 (failure to pay)
2003 9/10/2007 s19,962 (by exam) $7,284.94 $5,135.32 gate filing)
$3,992.40 (accuracy)
3/28/2011 ss,027.47{fai1urero pay} _"`H
2004 8/24/2009 3654 (by exam) $500.'/3 l $214 (accuracy) " "
; $159.50 (failure to pay)
3/28/2011 I $277.68 (failure to pay)
3/26/2012 l $97.56 (failure to pay)
2005 8/24/2009 $4,833 (by exam) $1,322.26 '[ $567 (accuracy)
3/28/2011 [ $1,048.02 (failure to pay]
3/26/2012 [ $368.22 (failure to pay}
2006 11/19/2007 $6,007 (by retum) $200.40 $l 10.25 (estimated tax)
; 5154.81 (failure to pay)
3/28/2011 $38.50 (failure to pay}

 

 

 

16. A delegate of the Secretary of Treasury issued Winland notices and demands for
payment of the assessments described in paragraph 15.
17. Despite these notices and demands for payment, Winland has failed to pay his

federal income tax liabilities in full.

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18. As of October 31, 2016, Winland owed the United States $l,099,119.76 for his
unpaid federal income tax liabilities for tax years 1998 through 2006. Interest, penalties, and
statutory additions continue to accrue until the liabilities are paid in hill.

COUNT ll - FORECLOSE FEDERAL TAX LIENS ON SUBJECT PROPERTY

19. The United States incorporates by reference the allegations contained in
paragraphs 1 through 18 as if fully and separately restated herein.

20. Federal tax liens arose on the dates of assessment detailed in paragraph 15 and
attached to all of Winland’s property and rights to property.

21. In 2007 _ when the Service assessed income tax liabilities against Winland for
the 1998 through 2003 and 2006 tax years _ Winland owned and resided in a property in
l~Ioward County, l\/laryland. He was the only person listed on the property’s title. Federal tax
liens attached to the Maryland property upon assessment

22. On October 2, 2008 and November 23, 2009, a delegate of the Secretary for the
Treasury filed notices of federal tax liens in Howard County, Maryland against Winland for
unpaid tax liabilities fi‘om tax years 1998 through 2006.

23. On or about .lanuary 24, 2008, Winland sold the Maryland property. On February
19, 2008, the sale’s settlement agent issued three checks, totaling $188,246.43, to Winland: two
for $4,000 and one in the amount of 8180,246.43.

24. Federal tax liens encumbered the proceeds from the sale of Maryland property.

25. On February 21, 2008, Winland deposited $180,346.43 into a joint checking

account shared with Hetz.

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26. On February 28, 2008, a check for $150,000 was drawnl from Winland and Hetz’s
shared account. On or about the same day, 5150,000 was deposited into a Certificate of Deposit
(CD) owned by I-letz.

27. The CD had a value of 5152,390.60 as ofOctober 10, 2008. lt decreased by
approximately $49,000 to $102,944.80 as of December 10, 2008.

28. On or about December 19, 2008, Hetz redeemed the CD’s proceeds and made two
deposits into a personal checking account: one for 5103,073.92 and the other for $40,000.

29. On or about December 22, 2008, Winland and Hetz purchased the Subject
Property for cash. I~Ietz wired the total due at closing - $l20,289.33 w from her checking
account.

30. On December 23, 2008, a special warranty deed was recorded in Lee County,
Florida listing “Sherry J can I-Ietz, a single woman, and Douglas Keith Winland, a single man,” as
grantees of the Subject Property. The deed did not specify their respective interests.

31. Upon purchase, federal tax liens arising from tax years 1998 through 2003 and
2006 attached to Winland’s interest in the Subject Property.

32. Because encumbered funds were used to purchase the Subject Property, federal
tax liens arising from tax years 1998 through 2003 and 2006 attached to the entire Subject
Property immediately upon acquisition notwithstanding Hetz’s inclusion in the deed.

33. Federal tax liens arising from tax years 2004 and 2005 attached to the Subject
Property on their date of assessment August 24, 2009.

34. On October 29, 2009, Winland purported to transfer all his rights, title, and

interest in the Subject Property to Hetz by quitclaim deed for a sum of $lO.

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35. Federal tax liens followed the Subject Property _ or, alternatively, Winland’s
interest in the Subject Property _ into Hetz’s hands.

36. On May 7, 2014, a delegate of the Secretary for the Treasury filed a notice of
federal tax lien in Lee County, Florida against Winland with respect to the Subject Property. 'l`he
notice listed Winland’s unpaid income tax liabilities for tax years 1998 through 2006.

37. On December 9, 2014, a delegate for the Secretary for the Treasury filed a notice
of federal tax lien in Lee County, Florida against Hetz as Winland’s “Transferee andr”or
Nominee” with respect to the Subject Property. The notice listed Winland’s unpaid income tax
liabilities for tax years 1998 through 2006.

COUNT III - IN THE ALTERNATIVE, SET ASIDE FRAUDULENT CONVEYANCES,
AND FORECLOSE FEDERAL TAX LIENS ON THE PROPERTY

38. The United States incorporates by reference the allegations contained in
paragraphs l through 37 as if fully and separately restated herein.
39. In the altemative, pursuant to Fla. Stat. Ann. §§ 726.105 and 726.106, the Court
should set aside I-letz’s inclusion as a grantee on the Subject Property’s December 23, 2008
Special Warranty Deed as fraudulent
40. Thc inclusion of Hetz as a purported grantee on the Subject Property’s Special
Warranty Deed was fraudulent under Fla. Stat. Ann. § 726. 106 because:
a. The purchase occurred after the United States’ claim against Winland for
federal income taxes arose.
b. Winland did not receive a reasonably equivalent value in exchange for
Hetz’s interest in the Subject Property. Banking records suggest the
purchase was funded, in whole or large part, with proceeds from the sale

of Winland’s Maryland property.

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Winland was insolvent when l'letz acquired an interest in the Property, or
became insolvent as a result, because his liabilities exceeded the value of

his assets.

The inclusion of Hetz as a purported grantee on the Subject Property’s Special

Warranty Deed was fraudulent under Fla. Stat. Ann. § 726.105 as evidenced by the following

factors:

. The transfer was made with the actual intent to hinder, delay, or defraud

Winland’s creditor, the United States.

. I~letz was an insider: Winland’s girlfriend

Bank records suggest Winland transferred to l-letz the proceeds from the
sale of his attached Maryland property. Hetz filtered the funds through a
number of bank accounts in her name before using them, in whole or large

part, to purchase the Subject Property on behalf of Winland and herself`.

. The transfer occurred at a time when Winland had incurred significant tax

liabilities.

Winland was insolvent when Hetz acquired an interest in the Property, or
became insolvent shortly thereaher, because his liabilities exceeded the
value of his assets.

The Service sent Winland multiple notices of tax liabilities and demands

for payment before he purchased the Subject Property.

To the extent Hetz’s inclusion as a purported grantee on the Subject Property’s

Special Warranty Deed was not fraudulent under Fla. Stat. Ann. §§ 726. 105 and 726.106, federal

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tax liens on Winland’s titled share of the Subject Property followed that share into Hetz’s
possession when Winland quitclaimed his interest in the Subject Property to l-letz.

COUNT IV - IN THE ALTERNATIVE, DETERMINE HETZ HOLDS PROPERTY AS
NOMINEE AND FORECLOSE FEDERAL TAX LIENS ON THE PROPERTY

43. The United States incorporates by reference the allegations contained in
paragraphs 1 through 42 as if fully and separately restated herein.

44. Hetz holds all or a portion of the Subject Property as the nominee of Winland as
evidenced by the following factors:

a. The Subject Property was acquired after substantial tax liabilities Were
assessed against Winland for the 1998 through 2003 and 2006 tax years

b. Winland and Hetz were romantically involved.

c. Bank records show Winland transferred to l-letz the proceeds from the sale
of his attached Maryland property. I-Ietz filtered the funds through a
number of bank accounts in her name before using them, in whole or large
part, to purchase the Subject Property.

d. Hetz did not pay adequate consideration for her purported interest in the
Subject Property at the time of its acquisition.

e. Winland quitclaimed his interest in Subject Property approximately two
months after liabilities for the 2004 and 2005 tax years Were assessed
against him.

f. Hetz did not pay adequate consideration in exchange for Winland’S
quitclaim of any remaining interest to her.

g. Winland enjoyed the benefits of the Subject Property prior to being

sentenced to prison.

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WHEREFORE, the United States prays that this Court:

A. Enter judgment in favor of the United States and against Douglas Winland for his
unpaid federal income tax liabilities for 1998 through 2006 in the amount of 81,099,1 19.76, as of
October 31, 2016, plus statutory additions and interest as allowed by law;

B. Adjudge, order, and declare the Property was purchased with encumbered funds
and, therefore, federal tax liens followed the funds and attached immediately to the Property;

C. Order that, in the altemative, the conveyances of interest in the Subject Property
to Sherry Jean Hetz were fraudulent under Florida law and will be set aside;

D. Order that, in the altemative, Sherry J can Hetz holds title to the Subject Property
as the nominee of Douglas Winland;

E. Decree that the federal tax liens of the United States attach to all property and
property rights of Douglas Winland, including his interest in the Subject Property;

F. Foreclose the federal tax liens and direct that the Subject Property be sold in
satisfaction thereof according to law, free and clear of liens and claims of the parties herein;

G. Detennine the priority of the liens andfor claims of the parties to this suit to the
Subject Property1 and distribute the proceeds of sale accordingly;

H. Direct that the proceeds distributed to the United States be applied to the unpaid
federal tax liabilities of Winland as set forth in this Complaint; and
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I. Award the United States its costs incurred in connection with this action, along

with such other relief as justice requires.

Dated: January 31, 2017

Respectliilly submitted,

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